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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )    14 CR 447
               v.                                 )
                                                  )    Judge Richard A. Posner
HAKEEM EL BEY                                     )

                               FINAL ORDER OF FORFEITURE

       The United States asks me to issue a final order of forfeiture pursuant to 18 U.S.C.
§ 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2.

        On August 13, 2014, an indictment was returned charging the defendant with mail fraud,
in violation of 18 U.S.C. § 1341, among other offenses. The indictment sought forfeiture to the
United States of property that constituted or was derived from proceeds traceable to the charged
offenses.

        The defendant was tried before a jury that on March 4, 2015 returned a verdict of guilty on
all counts of the indictment, thereby making certain property named in the indictment subject to
forfeiture pursuant to the statutes cited above. Also on March 4 the jury returned a special forfeiture
verdict finding that the following property constitutes or was derived from proceeds traceable to
the mail fraud offenses and was therefore subject to forfeiture:

               1.      One Quicksilver 2010 Buick LaCrosse 4-Door Sedan, VIN:
                       1G4GC5EG8AF300937;

               2.      Real Property Located at 439 South Hoxie, Calumet City, Illinois, legally
                       described as follows:

                       LOT 34 IN BLOCK 1 IN CALUMET CITY SUBDIVISION BEING A SUBDIVISION
                       OF THE SOUTHEAST ¼ OF THE NORTHEAST ¼ OF SECTION 12, TOWNSHIP 36
                       NORTH, RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK
                       COUNTY, ILLINOIS.

                       PIN: 29-12-231-004

        Fed. R. Crim. P. 32.2(b)(2) states that following a finding that property is subject to
forfeiture the court should enter a preliminary order of forfeiture setting forth the amount of any
money judgment, directing the forfeiture of specific property, and directing forfeiture of any
substitute property if the government has met the criteria in 21 U.S.C. § 853(p).

        On August 18, 2015, upon motion of the government, I entered a preliminary order of
forfeiture against the defendant. That order included a money judgment against the defendant in
the amount of $600,000, which reflected the total proceeds traceable to the mail fraud offenses of
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conviction. The preliminary order also included forfeiture of all right title, and interest of defendant
in the 2010 Buick LaCrosse 4-Door Sedan and the real property located at 439 South Hoxie,
Calumet City, Illinois, in partial satisfaction of the money judgment. The preliminary order of
forfeiture became final as to the defendant at his sentencing hearing on September 17, 2015.

         Pursuant to 21 U.S.C. §§ 853(g) & (n)(1), as incorporated by 28 U.S.C. § 2461(c), the
United States Department of the Treasury posted a copy of the Notice of Forfeiture Action and
Preliminary Order of Forfeiture on the front door of the real property located at 439 South Hoxie,
Calumet City, Illinois; Personal Service was also executed for the Quicksilver LaCrosse vehicle;
notice of the criminal forfeiture proceedings was posted on an official government internet site for
at least 30 days beginning on September 2, 2015; the Cook County Treasurer’s office was served
with a copy of the notice of forfeiture and Preliminary Order of Forfeiture; and the Preliminary
Order of Forfeiture was served to ECF filers through the district court’s ECF system.

       No other parties, including mortgage holders, are known to have an ownership interest in
the property and accordingly, no other parties were personally served with a copy of the notice of
publication and preliminary order of forfeiture.

        Pursuant to 21 U.S.C. § 853(n)(2), third parties have thirty days from the publication of
notice or receipt of notice, whichever is earlier, to file a petition asserting an interest in the property
to be forfeited. To date, no petitions have been filed requesting a hearing to adjudicate any interest
in the foregoing property in this case, and the time to do so has expired.

         Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2, all
right, title, and interest of defendant Hakeem El Bey and any third party in the foregoing property
is hereby forfeited to the United States for disposition according to law.

        Pursuant to 21 U.S.C. § 853(n)(7), as incorporated by 28 U.S.C. § 2461(c), following entry
of this order, the United States shall have clear title to the foregoing property and shall dispose of
the property according to law. The proceeds from the sale of the real property located at 439 South
Hoxie, Calumet City, Illinois, shall be distributed in the following order:

                1.      Any outstanding state, county, city, or school taxes and any unpaid real
                        estate taxes due and owing, as documented at the date of closing on the
                        property, shall be paid;

                2.      The United States Department of the Treasury shall be permitted to deduct
                        any reasonable and necessary costs incurred to effectuate the sale of the
                        property and maintain the property pending its sale; and

                3.      The net proceeds from the sale of the real property shall be issued to the
                        United States Department of the Treasury and be credited to the defendant’s
                        forfeiture judgment.


        I shall retain jurisdiction to take additional action and enter further orders as necessary to




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implement and enforce this final order of forfeiture.




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                                              RICHARD A. POSNER
                                              Circuit Judge RICHARD A. POSNER
                                              Sitting in the United States District Court
                                              by designation.

DATED:     _January 11, 2016_




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